       Case 2:90-cv-00520-KJM-SCR   Document 3497    Filed 02/02/09   Page 1 of 1




 1

 2

 3

 4

 5

 6

 7

 8                   IN THE UNITED STATES DISTRICT COURT

 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA

10   RALPH COLEMAN, et al.,

11              Plaintiffs,                  No. CIV S-90-0520 LKK JFM P

12        vs.

13   ARNOLD SCHWARZENEGGER,
     et al.,
14
                Defendants.                         ORDER
15                                  /

16        The attached orders were filed in Plata v. Schwarzenegger,

17   No. C01-1351 (N.D. Cal.), Perez v. Cate, No. C 05-5241 (N.D.

18   Cal.), and Armstrong v. Schwarzenegger, C 94-2307 (N.D. Cal.) on

19   January 15, 2009 and were mistakenly not docketed in the above-

20   captioned case. The court directs the Clerk to file these orders

21   nunc pro tunc to that date.

22        IT IS SO ORDERED.

23        DATED: February 2, 2009.

24

25

26

                                         1
